         Case 2:23-cv-01988-JJT        Document 37    Filed 05/27/25    Page 1 of 10




 1   TIMOTHY COURCHAINE
     United States Attorney
 2   District of Arizona
     JOSEPH F. BOZDECH
 3   California State Bar Number 303453
 4   Assistant United States Attorney
     Two Renaissance Square
 5   40 North Central Avenue, Suite 1800
     Phoenix, Arizona 85004-4408
 6   Telephone: (602) 514-7751
     Email: Joseph.Bozdech@usdoj.gov
 7   Attorneys for Plaintiff
                                UNITED STATES DISTRICT COURT
 8
                                        DISTRICT OF ARIZONA
 9
10     United States of America,                             CV-23-01988-PHX-JJT
11                  Plaintiff,                         PLAINTIFF UNITED STATES OF
             v.                                         AMERICA’S OPPOSITION TO
12                                                       CLAIMANTS’ MOTION FOR
       5,012,294.90 in TetherUS (“USDT”),                  PROTECTIVE ORDER
13
       75,589,553.41 in Gala (“GALA”),
14
       226.81 in BNB (“BNB”),
15
       1,264.16 in Bitcoin (“BTC”),
16
       1,495.72 in Litentry (“LIT”),
17
       48,969 in Fantom (“FTM”),
18
       47.17 in Ethereum (“ETH”),
19
       501.41 in BUSD (“BUSD”),
20
                    Defendants In Rem.
21
22
23                                       INTRODUCTION
24          Plaintiff United States of America (“Plaintiff” or the “government”) seeks to forfeit
25   virtual currency that is traceable to proceeds of online fraud or that was commingled with

26   proceeds to launder and conceal the source of those proceeds. Suradet Totsaponvised and

27   Kosit Sisawigon (collectively “Claimants”) have filed claims asserting ownership of a
     portion of the virtual currency, as well as a motion to dismiss the case. On March 17, 2025,
28
         Case 2:23-cv-01988-JJT       Document 37      Filed 05/27/25    Page 2 of 10




     the government propounded 20 Special Interrogatories to each Claimant in accordance with
 1
     Rule G of the Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture
 2
     Actions (“Supplemental Rule G”). The Special Interrogatories seek additional information
 3
     about the Claimants’ “identit[ies] and relationship[s] to the” virtual currency at issue here.
 4
     Supp. Rule G(6)(a). Claimants now move for a protective order under Federal Rule of Civil
 5
     Procedure 26(c) to quash the Special Interrogatories or stay their deadline to respond until
 6   after the Court resolves a pending motion to dismiss. Special interrogatories of this nature
 7   are explicitly permitted under both the plain text of Supplemental Rule G(6) and Ninth
 8   Circuit precedent. The government respectfully requests that the Court deny Claimants’
 9   Motion for Protective Order.
10                                  FACTUAL BACKGROUND
11          This case concerns the in rem forfeiture of virtual currency, commonly referred to as

12   cryptocurrency, (the “Defendant Property”), seized from three Binance accounts. The

13   Defendant Property is subject to forfeiture under 18 U.S.C. § 981(a)(1)(C) as proceeds of
     wire fraud in violation of 18 U.S.C. § 1343, and under 18 U.S.C. § 981(a)(1)(A) as property
14
     involved in money laundering in violation of 18 U.S.C. §§ 1956 and/or 1957.
15
            As explained in detail in the government’s Verified Complaint, Doc. 1, the Federal
16
     Bureau of Investigation (“FBI”) has identified a number of related “pig butchering” fraud
17
     schemes which used similar fraudulent investment platforms, scam methods, and money
18
     laundering processes. Id. ¶ 21. “Pig butchering” uses apparently accidental text messages, or
19
     messages sent on other messaging platforms, to contact victims, who are then drawn into
20   elaborate investment schemes. Id ¶ 18. Once the victim deposits money, often in the form of
21   virtual currency, into a superficially functional investment platform, the victim is led to
22   believe their investment is yielding large returns. Id. ¶ 19. Various means are used to
23   encourage victims to transfer more money, including fictitious tax-related requirements to
24   withdraw their supposed profits. Id. ¶ 20. The victims are ultimately not able to withdraw
25   their money, and they lose whatever they have deposited. Id.

26          FBI agents traced virtual currency fraudulently obtained from “pig butchering”

27   victims through multiple transfers, often made over a short time period, to three Binance
     accounts. Id. ¶¶ 36-39, 42-43, 45, 49-50. The government obtained a seizure warrant for the
28
                                                   2
           Case 2:23-cv-01988-JJT      Document 37       Filed 05/27/25     Page 3 of 10




     virtual currency contained in the three accounts. Id. ¶ 4. On September 20, 2023, the
 1
     government filed its Verified Complaint for Forfeiture In Rem. Doc. 1. The Court issued a
 2
     Warrant for Arrest In Rem on November 21, 2023. Doc. 3.
 3
              On February 10, 2025, after several agreed-upon extensions of the claim deadline,
 4
     Claimants filed judicial claims. Docs. 23 and 24. Claimants filed amended claims on
 5
     February 25, 2025. Doc. 25 and 26. On March 5, 2025, Claimants filed a joint motion to
 6   dismiss. Doc. 27. In accordance with Supplemental Rule G(6), the government propounded
 7   Special Interrogatories on March 17, 2025, and filed notice thereof on the docket. Docs. 32
 8   and 33. Pursuant to the stipulated briefing order entered by the Court on April 3, 2025, Doc.
 9   25, Claimants filed their Motion for Protective Order (the “Motion”) on May 5, 2025. Doc.
10   36.
11                                       LEGAL STANDARD

12            Supplemental Rule G governs federal civil forfeiture actions. See Supplemental Rule

13   G(1). Supplemental Rule G(6)(a) provides that “[t]he government may serve special
     interrogatories limited to the claimant's identity and relationship to the defendant property
14
     without the court's leave at any time after the claim is filed and before discovery is closed.”
15
     Propounding special interrogatories defers the government’s time to respond to any motion
16
     to dismiss until 21 days after the claimant answers the special interrogatories. Supp. Rule
17
     G(6)(c).
18
              The purpose of the asymmetrical discovery provided by special interrogatories,
19
     which is both broader and earlier than in other civil cases, is to allow the government to test
20   a claimant’s standing. United States v. $1,106,775.00 in U.S. Currency, 131 F.4th 710, 718
21   (9th Cir. 2025); United States v. $209,815 in U.S. Currency, No. C 14-0780 SC, 2015 WL
22   1927431, at *1 (N.D. Cal. Apr. 28, 2015) (“Special interrogatories are intended to aid the
23   Government in ferreting out unmeritorious or fraudulent claims.”). To challenge a forfeiture
24   action on the merits, a claimant must establish both Article III and statutory standing. United
25   States v. One 1985 Cadillac Seville, 866 F.2d 1142, 1148 (9th Cir. 1989). Article III standing

26   requires that a claimant establish that they have “a sufficient interest in the property to create

27   a case or controversy.” United States v. Real Prop. Located at 475 Martin Lane, Beverly
     Hills, CA, 545 F.3d 1134, 1140 (9th Cir. 2008). It is the claimant’s burden to establish
28
                                                     3
         Case 2:23-cv-01988-JJT          Document 37    Filed 05/27/25      Page 4 of 10




     standing. See United States v. $133,420.00 in U.S. Currency, 672 F.3d 629, 644 (9th Cir.
 1
     2012).
 2
              Standing may be challenged at any stage of the case, including the pleading stage, at
 3
     summary judgment, at trial, and even after trial. $1,106,775.00 in U.S. Currency, 131 F.4th
 4
     at 719 (citing Arbaugh v. Y&H Corp., 546 U.S. 500, 506 (2006)). At the outset of a civil
 5
     forfeiture case, it may be sufficient for a claimant to make a “bare assertion” of ownership.
 6   Real Prop. Located at 475 Martin Lane, 545 F.3d at 1140. 1 As litigation proceeds to the
 7   summary judgment stage, however, a bare assertion is no longer enough and the claimant
 8   must present evidence of a lawful ownership. $133,420.00 in U.S. Currency, 672 F.3d at 639.
 9            Supplemental Rule (G)(6) allows for a far-reaching inquiry. See $133,420.00 in U.S.
10   Currency, 672 F.3d at 642-43. Questions propounded under this Rule “are not limited to
11   ‘questions regarding the identity of the claimant and the type of legal interest asserted . . .

12   Rule G(6) interrogatories properly may ‘test the veracity of [a] claim of ownership’ and

13   otherwise subject the issue of standing ‘to adversarial testing.’” United States v. $34,900.00
     in U.S. Currency, Case No. CV 20-827-CBM(Ex), 2020 WL 9893040, at *1 (C.D. Cal. Oct.
14
     21, 2020) (quoting $133,420.00 in U.S. Currency, 672 F.3d at 642-43).
15
                                              ANALYSIS
16
     a. Courts Routinely Approve Special Interrogatories Like Those at Issue Here.
17
              The government’s Special Interrogatories seek information that falls into the
18
     following categories:
19
              1. The Claimants’ identities (Special Interrogatories 1-2);
20
              2. The nature of each Claimant’s interest in the Defendant Property, including how
21
                 and when it was acquired (Special Interrogatories 3-6, 9-10);
22
              3. Whether either Claimant is acting on behalf of another person (Special
23
                 Interrogatories 7-8);
24            4. The source and funds from with the Claimants claim the Defendant Property was
25               derived (Special Interrogatories 11-14);
26
     1
      While this appears to be the rule in the Ninth Circuit, it is not universally admitted that a
27   bare assertion of ownership is sufficient to establish standing even at the pleading stage.
     See United States v. $104,250.00 in U.S. Currency, 947 F. Supp. 2d 560, 564-65 (D. Md.
28   2013) (collecting cases).
                                                   4
         Case 2:23-cv-01988-JJT       Document 37       Filed 05/27/25    Page 5 of 10




             5. Why and how the Claimants obtained the Defendant Property (Special
 1
                Interrogatories 16-18); and
 2
             6. The Claimants’ criminal histories (Special Interrogatories 19-20).
 3
             Similar special interrogatories inquiring into the facts undergirding a claim have been
 4
     upheld many times by courts within the Ninth Circuit. See, e.g., United States v. $295,726.42
 5
     in Account Funds Seized, 279 F. Supp. 3d 1050, 1054-55 (C.D. Cal. 2018) (upholding
 6   interrogatories seeking “the identification of sources from which [the claimant] claims the
 7   assets were derived and of all persons having knowledge of the interest, and the identification
 8   of any facts establishing [the claimant's] ownership or any other person's interest in the
 9   assets”); United States v. $26,742.25 in U.S Currency, Case No. CV 17-003640-CJC(SSx),
10   2017 WL 6389091, at *2 (C.D. Cal. Dec. 13, 2017) (upholding interrogatories seeking,
11   among other things, the claimant’s criminal history, details regarding the acquisition of the

12   subject property, including the reasons the property was obtained and the documents and

13   witnesses evidencing the acquisition); United States v. $165,822.00 in U.S. Currency, Case
     No. 8:15-cv-01839-JLS-KES, 2017 WL 10574234, at *2 (C.D. Cal. Aug. 14, 2017)
14
     (upholding interrogatories seeking “a detailed description of the circumstances of each
15
     transaction by which [the claimant] acquired or obtained any interest in the defendant
16
     currency,” including the identification of witnesses and documents surrounding the
17
     transactions and documents relating to the transactions); United States v. $22,847.99 in
18
     Account Funds, Case No.: SACV 16-0331-CJC(JEMx), 2016 WL 4803192, at *2 (C.D. Cal.
19
     Sept. 13, 2016) (upholding interrogatories concerning, among other things, the facts
20   establishing the claimant’s ownership or any other person’s interest in the assets, legal or
21   bankruptcy proceedings in which the claimant took part, communications regarding the
22   assets, and whether the assets were the proceeds of a loan); United States v. $333,806.93 in
23   Proceeds from the Foreclosure of Real Property, etc., NO. CV 05-2556 DOC (ANx), 2010
24   WL 3733932, at *3 (C.D. Cal. Aug. 30, 2010) (upholding interrogatories seeking, among
25   other things, a description of the “full circumstances” under which the claimant's interest in

26   the defendant assets arose).

27           The government’s Special Interrogatories are functionally identical to special
     interrogatories approved by other courts within this Circuit. The government is not engaging
28
                                                   5
         Case 2:23-cv-01988-JJT        Document 37       Filed 05/27/25     Page 6 of 10




     in any type of unusual or surprising practice here, but rather exactly the sort of early
 1
     discovery contemplated by Supplemental Rule G. The Court should deny the Motion, which
 2
     asks it to deviate from well-established practice in this Circuit.
 3
     b. The Government May Use Special Interrogatories to Inquire into Standing Issues
 4      That Could Arise at Any Stage of the Case.
 5           Claimants argue that the Verified Complaint and their respective claims are sufficient
 6   to establish standing, and that their standing in this case is not reasonably open to debate.
 7   Mot. at 11. Claimants Sisawigon’s amended claim contains a bare assertion that he is the
 8   owner of Binance Account 1, and an unspecified interest in the contents of the account that
 9   may be possessory, or an ownership interest “to the extent that such interest exists,” and
10   states that Claimant Sisawigon held the assets in Binance Account 1 as bailee or agent of

11   Claimant Totsaponvised. Doc. 25 at 1-2. Claimant Totsaponvised states that he opened and

12   owns Binance Account 2, employed Claimant Sisawigon to purchase and transfer virtual
     currency to Binance Account 2, and owns all funds that were stored in both Binance Accounts
13
     1 and 2. Doc. 26 at 2-3.
14
             An unequivocal claim of ownership may be sufficient to show standing at the
15
     pleading stage. $133,420.00 in U.S. Currency, 672 F.3d at 638. At the summary judgment
16
     stage, however, a “claimant’s bare assertion of an ownership . . . interest” in the defendant
17
     property in a civil forfeiture action must be accompanied by some affirmative evidence of
18
     ownership in order to survive a motion for summary judgment. Id. To avoid summary
19   judgment, a claimant must provide sufficient evidence such that a reasonable jury could find
20   that the claimant had standing on the evidence presented. Id. “The mere existence of a
21   scintilla of evidence in support of the [claimant’s] position will be insufficient; there must be
22   evidence on which the jury could reasonably find for the [claimant].” Id. (quoting Anderson
23   v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986)). The “naked possession” of property
24   without some further explanation as to how the claimant came to possess the property is

25   insufficient to establish standing at any stage of a forfeiture action. Id. at 639-40.

26           The Ninth Circuit has recently emphasized that the facts into which special
     interrogatories may delve are not limited to those sufficient to establish standing at the
27
     pleading stage. $1,106,775.00 in U.S. Currency, 131 F.4th at 720. Special interrogatories are
28
                                                     6
            Case 2:23-cv-01988-JJT     Document 37      Filed 05/27/25     Page 7 of 10




     appropriate if they seek evidence that may be relevant to a standing question which could
 1
     arise at any point in the case. Id. at 719. Accordingly, the relevant consideration is whether
 2
     the discovery sought may help the government to test standing in a motion to dismiss, a
 3
     motion for summary judgment, at trial, or even after the entry of judgment. Id. at 719, 721
 4
     n.2.
 5
               Even if Claimants’ unequivocal assertions of ownership met the burdens to show
 6   standing at the pleading stage, those statements are not sufficient to resolve the question of
 7   standing for good and ever. A claimant’s mere assertion of ownership does not resolve
 8   standing where no information is provided as to the source of the funds, or how the property
 9   was purchased. See United States v. JP Morgan Chase Bank Acct. No. Ending 8215 in Name
10   of Ladislao V. Samaniego, VL: $446,377.36, 835 F.3d 1159, 1165 (9th Cir. 2016) (unclearly
11   stated ownership interests and contradictory evidence create a triable issues of fact). In fact,

12   the type of general and non-specific information that Claimants provided in their claims is

13   exactly of the type that the Ninth Circuit held to be potentially insufficient responses to
     special interrogatories. See $1,106,775.00 in U.S. Currency, 131 F.4th at 722 (a special
14
     interrogatory response that is limited to a naked assertion that the claimant had a job would
15
     be insufficiently detailed). Where there exists some reason to believe that standing is
16
     “reasonably in dispute” the government is entitled to take Supplemental Rule G(6) discovery.
17
               Here, the facts alleged in the Verified Complaint cast into doubt Claimants’
18
     explanations of ownership. For example, the user of Binance Account 1 transferred
19
     significant amounts of virtual currency to another account, Binance Account A, which then
20   transferred virtual currency to Binance Account 2, and all three accounts appeared to be
21   under common control. Doc. 1 ¶¶ 54-56. Binance Account 1 was used as a pass-through
22   account, and Claimants have offered no explanation as to why this additional stage of
23   obfuscation was necessary in the first place. Doc. 1 ¶¶ 57-65. The crux of the government’s
24   case is that the Defendant Property consists of the proceeds of wire fraud and other property
25   commingled with those proceeds in order to conceal the origin of the proceeds. How and

26   why the Defendant Property came to be stored in the seized accounts, the source of funds

27   exchanged for the Defendant Property, and whether any third parties have an interest in the
     Defendant Property are germane to the question of Claimants’ standing. Given the unusual
28
                                                    7
         Case 2:23-cv-01988-JJT        Document 37      Filed 05/27/25     Page 8 of 10




     usage of the Binance Accounts, and the complete lack of any explanation as to what, if any,
 1
     value was given for the virtual currency transferred into Binance Account 1 and on to
 2
     Binance Account 2, there are ample grounds on which to conclude that standing is
 3
     “reasonably in dispute.”
 4
             Claimants argue that the situation here is similar to that in United States v. Real
 5
     Property Located at 17 Coon Creek Road, 787 F.3d 968 (9th Cir. 2015), where the Ninth
 6   Circuit held that a claimant’s failure to respond to special interrogatories did not require
 7   striking the claim. Doc. 36. at 14. However, in that case, the determinative issues were
 8   whether the claimant’s “failure to comply with Rule G(6) vitiated his statutory standing . . .
 9   and required dismissal” and whether the district court had improperly struck the claim
10   without giving the claimant an “opportunity to cure his lack of response.” 17 Coon Creek
11   Road, 787 F.3d at 979. As the Ninth Circuit framed the matter, the district court had

12   improperly elevated a discovery requirement into a standing defect. Id. at 976; see also

13   $1,106,775.00 in U.S. Currency, 131 F.4th at 726 (Proportionality “appears to have been our
     reason for striking the interrogatories in 17 Coon Creek.”). Claimants’ cherry-picked and
14
     out-of-context quotations aside, the decision in 17 Coon Creek Road was driven by
15
     considerations other than the claimant’s bare assertion of ownership.
16
             Claimants also invoke United States v. $215,587.22 in U.S. Currency, 282 F. Supp.
17
     3d 109 (D.D.C. 2017). Doc. 36 at 14. In addition to being an out-of-Circuit district court
18
     case, the conclusion in $215,587.22 in U.S. Currency was that discovery on certain topics
19
     was in fact warranted. 282 F. Supp. 3d at 113-14. Here, where there are facts indicating that
20   the Binance Accounts were used to conceal the source of funds, and genuine questions as to
21   how and why the Defendant Property was acquired, the Court should decline to enact the
22   expansive protective order that Claimants have requested.
23   c. The Court Should Require Claimants to Respond to the Special Interrogatories
        Before Ordering the Government to Respond to Claimants’ Motion to Dismiss.
24
25          Claimants argue that the Court should proceed to rule on the motion to dismiss before

26   requiring Claimants to respond to the Special Interrogatories, arguing that the motion to
     dismiss challenges the Court’s in rem jurisdiction. Doc. 36 at 15-16. Notably, Claimants do
27
     not offer a single civil forfeiture case supporting their proposed schedule. In fact, Claimants’
28
                                                    8
         Case 2:23-cv-01988-JJT        Document 37      Filed 05/27/25      Page 9 of 10




     approach is directly contradicted by the text of Supplemental Rule G(6)(c), which states that
 1
     “[t]he government need not respond to a claimant's motion to dismiss the action under Rule
 2
     G(8)(b) until 21 days after the claimant has answered these interrogatories.” “A claimant who
 3
     establishes standing to contest forfeiture” may move to dismiss the action under Rule 12(b).
 4
     Supp. Rule G(8)(b)(i) (emphasis added). As standing is a threshold issue, courts have refused
 5
     to hear any motion, including motion to dismiss, from a claimant who has not answered
 6   special interrogatories. $1,106,775.00 in U.S. Currency, 131 F.4th at 723 (collecting
 7   forfeiture cases holding that a motion to suppress need not be ruled on before standing is
 8   established); United States v. Vazquez-Alvarez, 760 F.3d 193, 197 (2d Cir. 2014) (holding
 9   that a claimant must establish standing before any motion to dismiss is ruled upon). The mere
10   fact that Claimants contest the Court’s jurisdiction over the Defendant Property does not
11   displace the clearly stated procedures of Supplemental Rule G, particularly where the Court

12   obtained in rem jurisdiction over the property via the issuance and execution of a warrant for

13   arrest in rem. See United States v. One Oil Painting Entitled “Femme en Blanc” by Pablo
     Picasso, 362 F. Supp. 2d 1175, 1183 (C.D. Cal. 2005) (“Property is brought under the
14
     dominion and control of the court through arrest of the property.”).
15
     d. The Special Interrogatories Were Not Propounded for an Improper Purpose.
16
17           Claimants argue that the Special Interrogatories are not proportional 2 and go to the
     merits of the case rather than standing. Doc. 36 at 17. While responses to the Special
18
     Interrogatories may be helpful to the government in aspects of this case other than testing
19
     standing, this does not render them illegitimate. $1,106,775.00 in U.S. Currency, 131 F.4th
20
     at 718 (“And because a claimant’s relationship to property overlaps with the merits of a
21
     forfeiture claim, [special] interrogatories will likely produce information that the government
22
     can use to prove its case.”) (citing $133,420.00 in U.S. Currency, 672 F.3d at 642). The mere
23
     fact that responses to special interrogatories may also speak to the merits of the case does not
24   make those interrogatories suspect, or render them propounded for an improper purpose.
25
     2
       To the extent that Claimants are arguing proportionality, they have not thus far proposed
26   any measures to reduce the burden of responding, short of quashing the interrogatories
     entirely. While the Court has not yet issued a scheduling order, the Court’s standing order
27   governing discovery disputes requires that a written discovery motion must not be filed
     without leave of the Court, and such motion must adhere to a prescribed form. The Motion
28   is emphatically a dispute about discovery, and neither requirement was met here.
                                                  9
       Case 2:23-cv-01988-JJT      Document 37       Filed 05/27/25   Page 10 of 10




                                         CONCLUSION
 1
           For the foregoing reasons, Plaintiff United States of America respectfully asks that
 2
     the Court deny Claimants’ Motion for Protective Order.
 3
           Respectfully submitted this 27th day of 2025.
 4
 5                                            TIMOTHY COURCHAINE
                                              United States Attorney
 6
                                              District of Arizona
 7
                                              s/Joseph F. Bozdech
 8                                            JOSEPH F. BOZDECH
 9                                            Assistant United States Attorneys

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                10
